Case 3:19-bk-30822        Doc 119    Filed 10/25/19 Entered 10/25/19 12:26:11       Desc Main
                                    Document      Page 1 of 3



 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: October 25, 2019




 ________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7




    Order Granting in Part Tagnetics’ Motion to Enforce Settlement Agreement (Doc. 101)
                                and Ordering Other Matters

        This matter is before the court on Tagnetics’ Motion to Enforce Settlement Agreement
 (doc. 101) and the Response to Motion to Force Settlement (doc. 106) filed by the Petitioning
 Creditors.

        Pursuant to a prior Order (doc. 99), the court conducted a hearing on the Motion to
 Enforce Settlement Agreement on October 18, 2019. The hearing was attended by Stephen
 B. Stern and Robert R. Kracht, counsel for Tagnetics Inc., and Petitioning Creditors Jonathan
 Hager, Ronald E. Earley, and Kenneth W. Kayser (the “Remaining Petitioning Creditors”).
 The court heard testimony from Mr. Stern, Mr. Kayser, Mr. Earley, and Mr. Hager.
Case 3:19-bk-30822          Doc 119       Filed 10/25/19 Entered 10/25/19 12:26:11                   Desc Main
                                         Document      Page 2 of 3



        Based upon the evidence admitted during the hearing, including the testimony of the
 witnesses and the documentary evidence, and the arguments of the parties, and in
 accordance with the court’s oral decision rendered telephonically on October 25, 2019 at
 11:30 a.m., including its findings of fact and conclusions of law stated therein, Tagnetics’
 Motion to Enforce Settlement Agreement (doc. 101) is granted in part. Accordingly, IT IS
 ORDERED that the settlement agreement agreed to by the parties on July 26, 2019, shall be
 enforced as follows:

        Payment Schedule

      Payments                        Timing                         Earley           Kayser           Hager
      First          Within 3 business days of the entry of           $30,000          $30,000          $30,000
                     this order
      Second         12 months from entry of this order              $30,000    $30,000     $30,000
      Third          18 months from entry of this order              $30,000    $30,000     $30,000
      Balance        Upon next liquidity event1                      $96,980     $61,582     $58,144
      Total                                                      $186,980.00 $151,582.00 $148,144.00

        Excepting the payments required by this Order as defining the terms of the
         settlement reached by the parties, the parties are mutually released from any past
         obligation to each other arising out of any contract or claim of any nature, including
         as to any salary, benefits, loans or other similar obligations owed to the Remaining
         Petitioning Creditors. This release shall not affect any equity interest, including shares
         of stock, held by the Remaining Petitioning Creditors, except that it shall release any
         past dividends or other monetary obligations arising of any such equity or stock
         ownership.

        Within 7 days after the Remaining Petitioning Creditors’ receipt of the initial $30,000
         payments, Tagnetics shall file with the court and serve, by email, upon on each of the
         Remaining Petitioning Creditors a notice of payment.

        Upon the filing with the court of the notice of payment, the court will, after a 24‐hour
         waiting period, dismiss the Involuntary Petition against Tagnetics.

       Except as otherwise noted, nothing in this order should be construed as addressing
 any equity interest, if any, of the Remaining Petitioning Creditors. It also does not release

 1
  Liquidity event is defined as follows:
 (a) when one person or entity directly or indirectly becomes the beneficial owner of more than 50% of the
 outstanding securities of Tagnetics, provided that the one person or entity does not directly or indirectly own
 more than 50% of the outstanding securities of Tagnetics on the date that the agreement becomes valid;
 (b) the consummation of a merger, sale, or consolidation of Tagnetics with/to another company;
 (c) a sale of substantially all of the assets of Tagnetics; or
 (d) completion of a plan to liquidate, dissolve, or wind up Tagnetics that was approved by Tagnetics’
 shareholders or Board of Directors.

                                                        2
Case 3:19-bk-30822       Doc 119     Filed 10/25/19 Entered 10/25/19 12:26:11      Desc Main
                                    Document      Page 3 of 3



 any obligations owed to or from third parties, including, but not limited to, Compass
 Marketing, or any affiliates, subsidiaries, parent corporation, officers, or directors of
 Tagnetics, Inc.

        The court will issue a separate order regarding Tagnetics’ request for attorney fees
 for compensatory damages.

        IT IS SO ORDERED.

 Copies to:

 All Creditors and Parties in Interest

 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




                                               3
